Case 3:17-cv-00072-NKM-JCH Document 1021 Filed 08/20/21 Page 1 of 2 Pageid#: 17312




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

    ELIZABETH SINES, et al.,

                          Plaintiffs,                        No. 3:17-cv-00072-NKM

         v.                                                  JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                          Defendants.

                                        APPEARANCE OF COUNSEL

   TO:        The Clerk of Court and all parties of record

              I, Joshua Smith, Esq., am admitted to practice in this Court, and I appear in this case as

   counsel for Defendants Matthew Parrott, Matthew Heimbach, and Traditionalist Worker Party.


                                                             Respectfully submitted,




                                                             /s/ Joshua Smith
                                                             Joshua Smith, Esq.
                                                             Pennsylvania Bar ID No. 207585
                                                             Smith LLC
                                                             807 Crane Avenue
                                                             Pittsburgh, Pennsylvania 15216
                                                             (917) 567-3168 (phone)
                                                             joshsmith2020@gmail.com

                                                             Counsel for Defendants Matthew Parrott,
                                                             Matthew Heimbach, and Traditionalist
                                                             Worker Party

   Dated: August 20, 2021
Case 3:17-cv-00072-NKM-JCH Document 1021 Filed 08/20/21 Page 2 of 2 Pageid#: 17313




                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 20, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on August 20, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
   richardbspencer@icloud.com                             azzmador@gmail.com
   richardbspencer@gmail.com
                                                          Elliott Kline a/k/a Eli Mosley
   Vanguard America                                       eli.f.mosley@gmail.com
   c/o Dillon Hopper                                      deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                           eli.r.kline@gmail.com

          I hereby further certify that on August 20, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
   USP Marion
   U.S. Penitentiary
   P.O. Box 1000
   Marion, IL 62959


                                                           /s/ Joshua Smith
                                                           Joshua Smith, Esq.
                                                           Pennsylvania Bar ID No. 207585
                                                           Smith LLC
                                                           807 Crane Avenue
                                                           Pittsburgh, Pennsylvania 15216
                                                           (917) 567-3168 (phone)
                                                           joshsmith2020@gmail.com

                                                           Counsel for Defendants Matthew Parrott,
                                                           Matthew Heimbach, and Traditionalist
                                                           Worker Party


                                                    -2-
